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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

PNC BANK, NATIONAL ASSOCIATION,                     §
                                                    §
                 Plaintiff/Counter-Defendant,       §
                                                    §
v.                                                  §                   1:15-CV-770-RP
                                                    §
SYLVIA RUIZ and MARK R. RUDE,                       §
                                                    §
                 Defendants/Counter-Plaintiff.      §

                                AMENDED FINAL JUDGMENT

        On this date, the Court adopted the report and recommendation of the United States

Magistrate Judge, (Dkt. 87), and granted Plaintiff PNC Bank, N.A.’s (“PNC Bank”) motion for

summary judgment and denied Defendant Sylvia Ruiz’s (“Ruiz”) motion for summary judgment. By

separate order, the Court granted default judgment as to PNC Bank’s claims against Mark Rude

(“Rude”), (Dkt. 56).

        Accordingly, it is ORDERED that Defendant Sylvia Ruiz TAKE NOTHING on her

counterclaims against PNC Bank, and that these counterclaims are DISMISSED WITH

PREJUDICE. Further, the Court enters JUDGMENT for PNC Bank and against Ruiz and Rude,

on its claim for judicial foreclosure, as set forth the Court’s Order on this date and the report and

recommendation.

        IT IS FURTHER ORDERED, ADJUDGED and DECREED that:

        1.       Ruiz and Rude are in default under the terms of the Texas Home Equity Note

(“Note)” executed on May 24, 2002, and the Texas Home Equity Security Instrument (“Security

Instrument”) executed on May 24, 2002, and recorded in the official public records of Travis

County, Texas as Document No. 2002100590, for failure to remit installment payments;




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       2.       The Security Instrument secures a home equity lien on that certain real property

described as follows:

                  LOT 20, BLOCK “C”, OAK CREEK PARKE, SECTION 5, A

             SUBDIVISION IN TRAVIS COUNTY, TEXAS, ACCORDING TO THE

            MAP OR PAT THEREOF RECORDED IN VOLUME 92, PAGE 315, OF

                        THE PLAT RECORDS OF TRAVIS COUNTY, TEXAS

commonly known as 3612 Aspen Creek Parkway, Austin, Texas (the “Property”);

       3.       PNC Bank has the right and is entitled to enforce the home equity lien reflected in

the Security Instrument;

       4.       Ruiz and Rude were sent and they received properly issued notices of default and

notices of acceleration; and

       5.       PNC Bank may foreclose on its home equity lien and conduct a foreclosure sale of

the Property, in accordance with the Security Instrument.

       All costs are taxed against Ruiz and Rude, jointly and severally.

       This is a final judgment. Any pending motions in this case are DENIED AS MOOT, and

this case is CLOSED. Any relief not expressly granted is denied.

       SIGNED on June 3, 2022.




                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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